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                        IN THE UNITED STATES DISTRICT COURT
                                                                                      FILED
                        FOR THE NORTHERN DISTRICT OF TEXAS                      February 5, 2021
                               WICHITA FALLS DIVISION                         KAREN MITCHELL
                                                                            CLERK, U.S. DISTRICT
UNITED STATES OF AMERICA                                                          COURT

v.                                                   No. 7:21-MJ-_______
                                                                 008-BP

RICKY DALE HOWARD (01)

                                   CRIMINAL COMPLAINT

        I, the undersigned Complainant, being duly sworn, state the following is true and

correct to the best of my knowledge and belief:

       Between on or about March 15, 2010, and on or about March 15, 2012, in the
Northern District of Texas, the defendant, Ricky Dale Howard, employed, used,
persuaded, induced, enticed, or coerced a minor, to engage in sexually explicit conduct for
the purpose of producing any visual depiction of such conduct, which was produced using
materials that had been mailed, shipped, and transported in or affecting interstate or foreign
commerce by any means, that is a computer, and such visual depiction was actually
transported or transmitted using any means or facility of interstate commerce.

        In violation of 18 U.S.C. §§ 2251(a) and (e).

                                     INTRODUCTION

I, Clay Howerton, being duly sworn, depose and state as follows:

        1.      I am a Special Agent with the Federal Bureau of Investigation (FBI),

assigned to the Dallas Division, Wichita Falls Resident Agency. I have been employed

with the FBI since March 2006.

        2.      As part of my official duties, I have conducted and participated in

investigations relating to the sexual exploitation of children. As an FBI Special Agent, I

am authorized to investigate crimes involving the sexual exploitation of children pursuant

to Title 18, United States Code, Section 2251. Title 18 U.S.C. §§ 2251(a) and (e) makes

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it a federal offense to use the mail or any facility or means of interstate commerce,

including by a computer or cellular phone, or within the special maritime and territorial

jurisdiction of the United States, to employ, use, persuade, induce, entice, or coerce a

minor, to engage in sexually explicit conduct for the purpose of producing any visual

depiction of such conduct.

        3.      The facts in support of probable cause for this complaint are based on: (1)

my personal investigation; (2) communication from other law enforcement officers; and

(3) physical evidence. Since this affidavit is being submitted for the limited purpose of

securing an arrest warrant, I have not included each and every fact known to me

concerning this investigation. I have set forth only the facts that I believe are necessary to

establish probable cause to believe that a violation of sexual exploitation of children –

producing child pornography, in violation of 18 U.S.C. §§ 2251(a) and (e), has been

committed by Ricky Dale Howard.

                             OVERVIEW OF INVESTIGATION

        4.      On March 30, 2015, 18-year-old Minor Victim 1 (“MV1”) went missing

from Nocona, Texas. The subsequent investigation by the Montague County (Texas)

District Attorney’s Office and the Montague County Sheriff’s Office identified Ricky

Dale Howard as one of the last people to communicate with MV1.

        5.      On or about October 25, 2017, Montague County (Texas) District

Attorney’s Office Investigators came into possession of a Gateway desktop computer

which belonged to Ricky Dale Howard. On or about January 31, 2018, Investigators

received a court-ordered search warrant for the computer. Subsequent forensic analysis of

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the computer by the North Texas Regional Computer Forensics Laboratory in Dallas,

Texas revealed approximately 300 images of child pornography contained on the

computer. Also found on this computer were a number of images of MV1 as a minor, and

while none are child pornography, there are some with MV1 in various stages of undress.

The images of MV1 had been taken over a period of several years.

        6.      On or about September 18, 2018, Montague County Investigators seized an

Acer laptop computer, which had been owned by Ricky Dale Howard. Howard had

previously given that laptop to a family member to assist in continuing to run Ricky Dale

Howard’s business. On September 20, 2018, pursuant to a court-ordered search warrant,

Montague County (Texas) District Attorney’s Office Investigators executed the search of

the Acer laptop computer, serial number LXPWJ020010171DE3B1601, which is a means

and facility of interstate and foreign commerce. Subsequent forensic analysis of the Acer

laptop computer by the North Texas Regional Computer Forensics Laboratory in Dallas,

Texas revealed several images consistent with child pornography were contained on the

computer in unallocated space.

        7. Additionally, there were four images on the Acer laptop computer that show

Ricky Dale Howard engaged in sexually explicit conduct with a minor male. Several

family members of both Ricky Dale Howard and MV1 confirmed their identities in the

photos where faces can be seen. MV1’s family estimated him to be approximately 13-15

years old when the images were taken, which would correspond to between March 15,

2010 and March 15, 2012. MV1’s family confirmed that MV1 routinely visited Ricky

Dale Howard, including from the ages of 13 to 15, as the families and children were

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close friends. Additionally, family members of both Ricky Dale Howard and MV1

confirmed the location/setting of the images to be the couch in a camper trailer owned by

Howard during the relevant time period. During the relevant time period, the camper

trailer owned by Ricky Dale Howard was parked and used on property owned by

Howard in Nocona, Texas, within the Wichita Falls Division of the Northern District of

Texas.

         8.     The four images appear to have been taken in a series. Two of the images

located on the Acer laptop computer that include MV1 are described below:



 File Name                           Description of File
 Carved [23962575].jpeg              An image of MV1 lying on his back nude, exposing
                                     his genitals in a lewd and lascivious manner.
                                     Howard is in a blue shirt with his hand on MV1’s
                                     erect penis. Howard’s pants are open, exposing his
                                     genitals.
 Carved [13958737].jpeg              An image of MV1 lying on his back nude, with his
                                     genitals exposed in a lewd and lascivious manner.
                                     Howard is in a blue shirt bending over MV1 with
                                     Howard’s head and mouth near MV1’s erect penis.



         9.     It has been confirmed that the Acer laptop computer containing the images

of Howard and MV1 engaged in sexually explicit conduct was manufactured, at least in

part, outside the state of Texas, which is a means and facility of interstate and foreign

commerce. Additionally, the Acer laptop computer containing the images was actually

transported using any means or facility of interstate commerce when it travelled from

Howard’s possession in Texas to the family member’s possession in Tennessee.


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                                       CONCLUSION

        10.     Based on the facts and circumstances of this Affidavit, Affiant submits that

probable cause exists to believe that between on or about March 15,2010, and on or

about March 15,2012, in the Northern District of Texas, the defendant, Ricky Dale

Howard, employed, used, persuaded, induced, enticed, or coerced a minor to engage in

sexually explicit conduct for the purpose of producing any visual depiction of such

conduct, which was produced using materials that had been mailed, shipped, and

transported in or affecting interstate or foreign commerce by any means, that is a

computer, and such visual depiction was actually transported using any means or facility

of interstate commerce, in violation of Title 18 U.S.C §§ 2251(a) and (e), that is sexual

exploitation of a child.




                                           Clay Howe n, Special Agent
                                           Federal Bureau of Investigation


      Sworn to me, over the telephone or other electronic means, and signed by me
pursuant to Fed.R.Crim.P. 4.1 on this 5th day of February 2021 at 2:26          p.m.,
in Wichita Falls, Texas.


                                           HAL R. RAY, JR.
                                           UNITED STATES MAGISTRATE JUDGE




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